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           14                           UNITED STATES DISTRICT COURT
                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
           15                                SOUTHERN DIVISION
           16       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           17       CERCACOR LABORATORIES, INC.,                  DECLARATION OF NORA
                    a Delaware corporation,                       PASSAMANECK IN SUPPORT OF
           18                                                     APPLE’S MOTION TO STRIKE
                                       Plaintiffs,                PLAINTIFFS’ UNTIMELY
           19                                                     REASONABLE ROYALTY THEORY
                          v.
           20
                    APPLE INC.,                                   Date: Dec. 12, 2022
           21       a California corporation,                     Time: 1:30 p.m.
                                                                  Expert Discovery Cut-Off: Dec. 12, 2022
           22                          Defendant.
                                                                  Pre-Trial Conference: Mar. 13, 2023
           23                                                     Trial: Mar. 27, 2023
           24
                                           REDACTED VERSION OF
           25                     DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           26
           27
           28       PASSAMANECK DECL. IN SUPPORT OF APPLE’S MOT. TO STRIKE UNTIMELY REASONABLE ROYALTY
                    THEORY                                                 CASE NO. 8:20-cv-00048-JVS (JDEX)
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           28       PASSAMANECK DECL. ISO APPLE’S MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE ROYALTY
                    THEORY                                                  CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1      I, Nora Passamaneck, declare and state as follows:
             2            1.     I am a partner at the law firm of Wilmer Cutler Pickering Hale and Dorr
             3      LLP, counsel for Defendant Apple Inc. (“Apple”) in the above-captioned matter.
             4            2.     I make this Declaration in support of Apple’s Motion to Strike Plaintiffs’
             5      Untimely Reasonable Royalty Theory (“Motion”).
             6            3.     I have personal knowledge of the facts stated herein and, if called upon to
             7      do so, could and would competently testify thereto.
             8            4.     On the morning of November 14, 2022, the Special Master confirmed via
             9      email that it is his understanding that a motion to strike pursuant to FRCP 26(e) and
           10       37(c) should be decided by this Court in the first instance, rather than going first to the
           11       Special Master.
           12             5.     Attached hereto as Exhibit 1 (filed under seal) is a copy of Plaintiffs’
           13       Masimo Corporation and Cercacor Laboratories, Inc.’s Seventh Supplemental Response
           14       to Apple’s First Set of Interrogatories No. 17 served on September 6, 2022.
           15             6.     Attached hereto as Exhibit 2 (filed under seal) is a copy of the Expert
           16       Report of Jeffrey H. Kinrich dated October 6, 2022 and “updated” October 17, 2022,
           17       with highlights indicating the portions of the report that Apple requests be stricken
           18       pursuant to this Motion.
           19             7.     The Kinrich reports cites to
           20
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           25             8.     Plaintiffs produced the                  mentioned in the prior paragraph
           26
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           28       PASSAMANECK DECL. ISO APPLE’S MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE ROYALTY
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             1            9.     To date, Plaintiffs have produced
             2
             3
             4            10.    Attached hereto as Exhibit 3 (filed under seal) is a copy of email
             5      correspondence sent between counsel for Apple and counsel for Plaintiffs between
             6      October 24, 2022 and November 14, 2022.
             7            11.    Attached hereto as Exhibit 4 is a copy of the Initial Disclosures of Plaintiffs
             8      Masimo Corporation and Cercacor Laboratories, Inc. dated April 14, 2020.
             9            12.    Attached hereto as Exhibit 5 (filed under seal) is a copy of Apple’s motion
           10       to compel supplementation of Plaintiffs’ responses to Interrogatory Nos. 13, 17, and 28
           11       and their initial disclosure regarding computation of damages under FRCP
           12       26(a)(1)(A)(iii) dated December 23, 2021.
           13             13.    Attached hereto as Exhibit 6 (filed under seal) is a copy of the First
           14       Amended Initial Disclosures of Plaintiffs Masimo Corporation and Cercacor
           15       Laboratories, Inc. dated April 14, 2020 and served on March 7, 2022.
           16             14.    Attached hereto as Exhibit 7 (filed under seal) is a copy of the transcript
           17       of the deposition of Joseph E. Kiani taken on August 5, 2022.
           18             15.    Attached hereto as Exhibit 8 (filed under seal) is a copy of the Second
           19       Amended Initial Disclosures of Plaintiffs Masimo Corporation and Cercacor
           20       Laboratories, Inc. dated May 23, 2022.
           21             16.    Attached hereto as Exhibit 9 (filed under seal) is a copy of the Third
           22       Amended Initial Disclosures of Plaintiffs Masimo Corporation and Cercacor
           23       Laboratories, Inc. dated August 3, 2022.
           24             17.    Attached hereto as Exhibit 10 (filed under seal) is a copy of the transcript
           25       of the deposition of Bilal Muhsin taken on August 19, 2022.
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           28       PASSAMANECK DECL. ISO APPLE’S MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE ROYALTY
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             1            18.    Attached hereto as Exhibit 11 (filed under seal) is a copy of the transcript
             2      of the deposition of Rick Fishel taken on July 28, 2022.
             3            19.    Attached hereto as Exhibit 12 (filed under seal) is a copy of Plaintiffs’
             4      Seventh Supplemental Response to Apple’s Interrogatory No. 26 served on September
             5      6, 2022.
             6            20.    Attached hereto as Exhibit 13 (filed under seal) is a copy of Plaintiffs’
             7      Fourth Supplemental Response To Apple Inc.’s Seventh Set of Interrogatories (No. 28)
             8      served on September 6, 2022.
             9            I declare under penalty of perjury under the laws of the United States of America
           10       that the foregoing is true and correct to the best of my knowledge.
           11             Executed this 14th day of November 2022.
           12
           13                                              By:
           14                                                    Nora Passamaneck
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           28       PASSAMANECK DECL. ISO APPLE’S MOT. TO STRIKE PLAINTIFFS’ UNTIMELY REASONABLE ROYALTY
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